Case 2:05-cv-04182-SRD-JCW Document 220-1 Filed 04/28/06 Page 1of 4

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

COLLEEN BERTHELOT, et al. * CASE NO.
VERSUS * NO. 05-4182

BOH BROTHERS CONSTRUCTION * SECTION “ K”
CO., et al.

* MAG. NO. “2”
RELATES TO ALL CASES

ke ek ek ek Re eR kk Kk Rk KR Rk Rk Rk Rk RY!

MEMORANDUM IN SUPPORT OF
MOTION TO COMPEL PRODUCTION
OF EVIDENCE!

MAY IT PLEASE THE COURT:

In order for the Court to acquire an understanding of what has been and is being
misrepresented to the Court and to counsel by the U.S. Department of Justice and/or the
U.S. Army Corps of Engineers, it is respectfully submitted that the Court is going to have
to leave “Plato’s Cave” and actually visit the London Avenue North breach site, which
can be accomplished safely and with little inconvenience to the Court or to the litigants.

To set the stage for the Court’s visit, the following documents are attached and

marked as exhibits:

' Plaintiffs also submit this Memorandum (1) in opposition to the Government’s Motion to Vacate

Evidentiary Hearing and (2) as a Supplemental Memorandum in Support of Plaintiffs’ Discovery Motion(s),
filed on Monday, April 17, 2006, together with a Motion for Expedited Hearing, still pending.

* Other Exhibits in the chronology relevant to the instant motion were attached to Plaintiffs” Memorandum
in Support of Discovery Motion(s), filed on April 17, 2006.

-[-

Case 2:05-cv-04182-SRD-JCW Document 220-1 Filed 04/28/06 Page 2 of 4

l. Facsimile to Magistrate Judge Joseph C. Wilkinson, Jr. on April 20, 2006,

marked Exhibit No. 1;

2. Facsimile to the lawyers for the Govemment on April 21, 2006, marked
Exhibit No. 2;
3. E-mail from the undersigned to the lawyers for the Government early on

Tuesday, April 25, 2006 (dictated on Monday, April 24, 2006), marked
Exhibit No. 3;

4. E-mail from the undersigned to the lawyers for the Government later on
Apri! 25, 2006, after leaving the site, marked Exhibit No. 4; and

5. E-mail from the undersigned to the lawyers for the Government on April
26, 2006, marked Exhibit No. 5.

No response whatsoever has been received from the Government.

_ Undersigned counsel for plaintiffs visited the London Avenue North breach site
again this morming and witnessed the contractor pulling sheet pile between the Robert E.
Lee Bridge and the area which the undersigned has requested be dewatered and gently
excavated for inspection. It only will be a matter of hours before this vital evidence,
which is under water and buried, is lost forever, unless the Court puts a stop to it?

The plain simply truth is no one really knows what is under water and under the
mud and rip rap at the bottom of the trench. If the steel sheet piles are still linked
together, then we will know that the concrete monolith panels failed, either at the joints
between panels or where the panels met the steel sheet piles, or both. If the steel sheet

piles at the bottom of the trench, which are presently buried and unobservable, have

3 Along with the other evidence which was removed from the site between Good Friday and Monday,

April 24".

2.

Case 2:05-cv-04182-SRD-JCW Document 220-1 Filed 04/28/06 Page 3 of 4

separated, then we are dealing with a mechanical failure in addition to the failure of the
concrete panels, their joints and “hinges”.

Attached to this memorandum and marked for identification as Exhibit No. 6 is
the April 26, 2006 interim report of plaintiffs’ expert, Mr. Pazos, which addresses these
issues in detail, which none of the other so-called “experts” have addressed in any of the
written reports which are in the public domain to date.

There is no reason why dewatering and excavation in the trench cannot take place
before evidence is destroyed and lost forever. This morning, at the site, the undersigned
was given the “run around” by the Corps of Engineers’ representatives, who said “You're
talking to the wrong people; tell the contractor”. The contractor said he only does what
the Corps of Engineers orders him to do. It is repeated that counsel for the Government
have been totally non-communicative.

It is respectfully submitted that the time has come for the Court to put a halt to the
evidentiary charade by the Government and the Corps, which has duped Magistrate
Knowles, Judge Duval and Your Honor, and to make the Government do what any other
litigant is expected to do, particularly one who continues to ignore an over six (6) month

old Freedom of Information Act request.

Respectfully submitted,

4 I HHA f~™
oe i R LO’ Deyer, Jr |

In Proper Person

Bar No. 10166

Case 2:05-cv-04182-SRD-JCW Document 220-1 Filed 04/28/06 Page 4 of 4

One Canal Place

365 Canal Street

Suite 2670

New Orleans, LA 70130
Telephone: (504) 561-6561
Facsimile: (504) 561-6560

CERTICATE OF SERVICE
I hereby certify that a copy of the foregoing has been served upon all counsel of

record via E-mail and a copy has been served upon Magistrate Joseph C. Wilkinson, Jr.,

via hand delivery, inis > EVE April, 2006.

